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                  EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 LEILA GREEN LITTLE, JEANNE                         §   Civil Action No. 1:22-cv-00424-RP
 PURYEAR, KATHY KENNEDY, REBECCA                    §
 JONES, RICHARD DAY, CYNTHIA                        §
 WARING, AND DIANE MOSTER,                          §
                                                    §
        Plaintiffs,                                 §
                                                    §   [PROPOSED] ORDER GRANTING
                v.                                  §   PLAINTIFFS’ MOTION FOR
                                                    §   PRELIMINARY INJUNCTION
 LLANO COUNTY, RON CUNNINGHAM, in                   §
 his official capacity as Llano County Judge,       §
 JERRY DON MOSS, in his official capacity as        §
 Llano County Commissioner, PETER JONES,            §
 in his official capacity as Llano County           §
 Commissioner, MIKE SANDOVAL, in his                §
 official capacity as Llano County                  §
 Commissioner, LINDA RASCHKE, in her                §
 official capacity as Llano County                  §
 Commissioner, AMBER MILUM, in her                  §
 official capacity as Llano County Library          §
 System Director, BONNIE WALLACE, in her            §
 official capacity as Llano County Library          §
 Board Member, ROCHELLE WELLS, in her               §
 official capacity as Llano County Library          §
 Board Member, RHONDA SCHNEIDER, in                 §
 her official capacity as Llano County Library      §
 Board Member, and GAY BASKIN, in her               §
 official capacity as Llano County Library          §
 Board Member,                                      §
                                                    §
        Defendants.                                 §
                                                    §
                                                    §

       The Court, having reviewed all materials submitted in support of and in opposition to

Plaintiffs’ Motion for a Preliminary Injunction, held a hearing regarding Plaintiffs’ Motion, and

reviewed all other pleadings and arguments by counsel properly before the Court, and after

careful consideration, hereby GRANTS Plaintiffs’ Motion as follows:




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       1.       Within twenty-four hours of the issuance of this Order, Defendants shall return to

publicly visible and accessible shelves the following print books that were removed or concealed

from the Llano County Libraries in 2021 or 2022 because of their viewpoint or content:

       a.       Caste: The Origins of Our Discontent by Isabel Wilkerson;

       b.       They Called Themselves the K.K.K: The Birth of an American Terrorist Group by

Susan Campbell Bartoletti;

       c.       Spinning by Tillie Walden;

       d.       In the Night Kitchen by Maurice Sendak;

       e.       It’s Perfectly Normal: Changing Bodies, Growing Up, Sex and Sexual Health by

Robie Harris;

       f.       My Butt is So Noisy!, I Broke My Butt!, and I Need a New Butt! by Dawn

McMillan;

       g.       Larry the Farting Leprechaun, Gary the Goose and His Gas on the Loose,

Freddie the Farting Snowman, and Harvey the Heart Had Too Many Farts by Jane Bexley;

       h.       Being Jazz: My Life as a (Transgender) Teen by Jazz Jennings;

       i.       Shine by Lauren Myracle;

       j.       Under the Moon: A Catwoman Tale by Lauren Myracle;

       k.       Gabi, a Girl in Pieces by Isabel Quintero; and

       l.       Freakboy by Kristin Elizabeth Clark.

       2.       Within twenty-four hours of the issuance of this Order and immediately after

returning the books to publicly visible and accessible shelves as ordered in (1) above, Defendants

shall update the Llano County Library System’s searchable catalog to reflect that these books

have been returned to library shelves and are available for check out.




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         3.       During the pendency of this action, Defendants may not remove or conceal any

book from the Llano County Library System’s publicly visible and accessible shelves and/or

searchable catalog without documenting (a) the individual who decided to remove or conceal the

book and (b) the reason or reasons for that removal or concealment.

         4.       During the pendency of this action, before Defendants remove or conceal any

book from the Llano County Libraries’ publicly visible and accessible shelves and/or searchable

catalog, Defendants must provide Plaintiffs with the documentation described in (3) above.

         5.       During the pendency of this action, Defendants are hereby enjoined from

restricting access to any book on Bibliotheca’s online platform due to the book’s viewpoint or

content.

         6.       During the pendency of this action, Defendants are hereby enjoined from closing

future meetings of the Llano County Library Board to members of the public.



IT IS SO ORDERED.


Dated:


                                                  Hon. Robert Pitman
                                                  United States District Judge




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